
PER CURIAM.
| ¶ Respondent and the Office of Disciplinary Counsel (“ODC”) submitted a joint petition for consent discipline, in which respondent acknowledges that she violated the following provisions of the Rules of Professional Conduct: Rules 1.5(f)(3)(4) and 1.15(a)(b)(c)(d). Having reviewed the petition,
IT IS ORDERED that the Petition for Consent Discipline be accepted and that Ericka Schexnayder Brignac, Louisiana Bar Roll number 24637, be and she hereby is suspended from the practice of law for a period of one year and one day. It is further ordered that this suspension shall be deferred in its entirety and that respondent shall be placed on supervised probation for a period of two years. The probationary period shall commence from the date respondent, the ODC, and the probation monitor execute a formal probation plan. Any failure of respondent to comply with the conditions of probation, or any misconduct during the probationary period, may be grounds for making the deferred suspension executory, or imposing additional discipline, as appropriate.
IT IS FURTHER ORDERED that all costs and expenses in the matter are assessed against respondent in accordance with Supreme Court Rule XIX, § 10.1, with legal interest to commence thirty days from the date of finality of this court’s judgment until paid.
